Case: 4:11-cr-00260-HEA   Doc. #: 76    Filed: 08/26/11   Page: 1 of 1 PageID #: 141



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )
vs.                                         ) Case No.: 4:11CR260 HEA
                                            )
Antonio Linares                             )
                                            )
            Defendant.                      )



                                       ORDER


      Comes   now,   Shae   Rucker,     U.S.   Pretrial     Services     Officer,

respectfully requests the conditions of release ordered on July 11,

2011, be modified to include a condition requiring the defendant to

participate in program of electronic monitoring with a curfew

instead of home detention.




                                 /s/Nannette A. Baker
                              The Honorable Nannette A. Baker
                              U.S. Magistrate Judge




Dated this 26th      day of August , 2011.
